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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

_______________________________________
                                       )
PETER MARCUS, MATT KOLTNOW,            )
and DIANNE BARTON-PAINE, on behalf )
of themselves and all others similarly )
situated,                              )
                                       )
              Plaintiffs,              )                    Civil Action No.
                                       )                    17-11165-FDS
              v.                       )
                                       )
AMERICAN CONTRACT BRIDGE               )
LEAGUE, INC.,                          )
                                       )
              Defendant.               )
_______________________________________)

                          MEMORANDUM AND ORDER ON
                       DEFENDANT’S MOTION FOR SUMMARY
                      JUDGMENT AS TO LIQUIDATED DAMAGES

SAYLOR, C.J.

        This case involves claims by current and former tournament directors for American

Contract Bridge League, Inc. (“ACBL”) for violations of the Fair Labor Standards Act

(“FLSA”), 29 U.S.C. §§ 201-219. The Court granted partial summary judgment to plaintiffs for

recovery of unpaid overtime for plaintiffs who worked as salaried Tournament Directors since

April 24, 2017. It also, among other things, granted defendant’s motion for summary judgment

to the extent it sought a two-year limitations period and denied plaintiffs’ motion for summary

judgment as to liquidated damages. In a new motion, defendant now seeks summary judgment

on the issue of liquidated damages. For the following reasons, that motion will be granted in

part.
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I.     Background

       A.      Factual Background

       The facts as stated in the Court’s Memorandum and Order on Cross-Motions for

Summary Judgment, Defendant’s Motion to Dismiss, Defendant’s Motion to Strike, and

Defendant’s Motion to Decertify Class, dated March 24, 2021, are incorporated herein. The

parties have not provided additional statements of material facts and do not raise any new factual

issues. Facts relevant to the present motion are briefly summarized below.

       In 2014, ACBL asked its legal counsel at the law firm Littler Mendelson to determine

whether full-time Tournament Directors were properly classified as exempt under the FLSA.

(Def. SMF ¶ 75; Pl. SMF ¶ 65). In March 2014, Littler provided ACBL a memorandum that

concluded that “ACBL has a strong argument that both full-time and part-time Tournament

Directors may be classified as administratively exempt.” (Hartman Dec. Ex. A (“Littler

Memo”), at 5). It further concluded that Tournament Directors who “typically work as a DIC

[Director-in-Charge]” would “almost certainly qualify as exempt” under either the executive or

administrative exemption. (Id.). ACBL continued to classify its full-time Tournament Directors

as exempt. (Def. SMF ¶ 77).

       In November 2014, Peter Marcus, who at that time was a full-time, salaried Tournament

Director, filed a complaint with the Department of Labor. (Pl. SMF ¶ 18). That complaint

alleged that he had been misclassified as an exempt employee. (Id.). The Department of Labor

investigator eventually concluded that Tournament Directors were not exempt under either the

executive exemption or the administrative exemption. (Pl. SMF Ex. 5, at 3). In October 2015,

the investigator communicated those findings to ACBL’s counsel and advised him that ACBL

owed Marcus $3,883.14 in overtime back wages. (Id. at 5, 7).

       Counsel for ACBL informed the investigator that he disagreed that salaried Tournament

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Directors were due overtime and that therefore ACBL would not pay back wages. (Id. at 7). He

further informed the investigator that ACBL was going to discontinue the Tournament Director

position. (Id.). The investigator’s report states that ACBL “assured future compliance but

refused to pay the back wages” and that the investigator “recommended that the file . . . be

administratively closed after review.” (Id. at 8).

        B.       Procedural Background

        On June 23, 2017, Peter Marcus filed the complaint in this action. Count 1 alleged that

ACBL failed to pay overtime to Marcus and similarly situated plaintiffs in violation of the

FLSA. Count 2 alleged that ACBL retaliated against Marcus in violation of the FLSA. On

November 14, 2017, Marcus filed an amended complaint that added Matt Koltnow and Dianne

Barton-Paine as named plaintiffs.

        On September 28, 2018, the Court granted plaintiffs’ motion to conditionally certify a

collective action. On May 29, 2019, after potential class members consented to the action, the

Court granted plaintiffs’ motion to recognize Marcus, Koltnow, Barton-Paine, and 16 opt-in

plaintiffs as a collective action.

        On May 11, 2020, the parties cross-moved for summary judgment as to Count 1, and

ACBL also moved as to Count 2. The Court, among other things, granted plaintiffs’ motion for

summary judgment to the extent that it sought to recover unpaid overtime for plaintiffs who

worked as salaried Tournament Directors since April 24, 2017 (but otherwise denied plaintiffs’

motion).1 It also granted ACBL’s motion for summary judgment to the extent it sought a two-

year limitations period and denied plaintiffs’ motion for summary judgment as to liquidated



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          The Court’s conclusions are set forth in greater detail in the Memorandum and Order on Cross-Motions
for Summary Judgment, Defendant’s Motion to Dismiss, Defendant’s Motion to Strike, and Defendant’s Motion to
Decertify Class (Docket No. 174).


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damages. On September 10, 2021, the parties stipulated to overtime calculations for the

remaining opt-in plaintiffs. (Joint Stipulation at 1-2).

       In a new motion, ACBL has moved for summary judgment on the issue of liquidated

damages. It contends that there is no basis for an award of liquidated damages against ACBL

because the undisputed facts establish that ACBL acted in good faith and had reasonable grounds

to believe its classification decision as to full-time, salaried Tournament Directors did not violate

the FLSA. Plaintiffs have opposed the motion, arguing that the evidence does not support such a

conclusion.

II.    Standard

       The role of summary judgment is “to pierce the pleadings and to assess the proof in order

to see whether there is a genuine need for trial.” Mesnick v. General Elec. Co., 950 F.2d 816,

822 (1st Cir. 1991) (quoting Garside v. Osco Drug, Inc., 895 F.2d 46, 50 (1st Cir. 1990)).

Summary judgment is appropriate when the moving party shows that “there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.

R. Civ. P. 56(a). A genuine issue is “one that must be decided at trial because the evidence,

viewed in the light most flattering to the nonmovant, would permit a rational factfinder to resolve

the issue in favor of either party.” Medina-Munoz v. R.J. Reynolds Tobacco Co., 896 F.2d 5, 8

(1st Cir. 1990) (internal citation omitted). When evaluating a summary-judgment motion, the

court makes all reasonable inferences in favor of the nonmoving party. See O’Connor v. Steeves,

994 F.2d 905, 907 (1st Cir. 1993). “[W]hen a properly supported motion for summary judgment

is made, the adverse party must set forth specific facts showing that there is a genuine issue for

trial.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986) (internal quotation marks and

footnotes omitted). The nonmoving party may not simply “rest upon mere allegation or denials

of his pleading,” but instead must “present affirmative evidence.” Id. at 256-57.
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III.   Analysis

       An employer who violates the overtime provisions of the FLSA is liable to the affected

employees “in the amount of . . . their unpaid overtime compensation . . . and in an additional

equal amount as liquidated damages.” 29 U.S.C. § 216(b). A court may decline to award

liquidated damages if an employer shows that the conduct resulting in an FLSA violation was in

“good faith” and that it had “reasonable grounds for believing” that it complied with the statute.

Id. § 260.

       The burden is on the employer to show good faith and objective reasonableness. See

Chao v. Hotel Oasis, Inc., 493 F.3d 26, 36 (1st Cir. 2007) (citing 29 U.S.C. § 260). That burden

“is a surprisingly heavy one, as ‘case law construing 29 U.S.C. § 260 strongly suggests that

liquidated damages must be awarded unless the employer can show that it solicited an opinion

from the Department of Labor regarding the employment practice at issue, or relied on the advice

of informed counsel.’” Murphy v. Town of Natick, 516 F. Supp. 2d 153, 161 (D. Mass. 2007)

(quoting O’Brien v. Town of Agawam, 482 F. Supp. 2d 115, 120 (D. Mass. 2007)); see also

Pagan-Colon v. Walgreens of San Patricio, Inc., 697 F.3d 1, 15 (1st Cir. 2012) (affirming district

court’s determination of good faith under FMLA where defendant consulted with “attorney

several times to understand the company’s legal obligations and obtain guidance in how to

proceed”).

       Defendant relies on the same arguments and evidence concerning good faith as it did in

refuting willfulness, although plaintiffs contend that the Court’s decision on the latter is not

dispositive here. However, courts often look at the same evidence when considering good faith

as they do when considering willfulness. See, e.g., Chao, 493 F.3d at 35 (“[T]he district court

found that Defendants failed to show good faith or objective reasonableness, referring back to its

findings on willfulness with respect to the applicable statute of limitations. . . . The district
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court’s willfulness findings are not clearly erroneous, and they adequately support the court’s

decision to award liquidated damages.” (internal citation omitted)); Perez v. Mountaire Farms,

Inc., 650 F.3d 350, 375 (4th Cir. 2011) (“[W]e credit the district court’s finding that Mountaire’s

acts were not ‘willful’ as evidence of Mountaire’s good faith.”).2 That evidence includes, among

other things, whether the employer relied on the advice of counsel when determining its

obligations under the FLSA. See Murphy, 516 F. Supp. 2d at 161. Defendant did so here on

more than one occasion. In 2014, counsel provided defendant with a memorandum that analyzed

whether Tournament Directors should be classified as exempt. It concluded that defendant had

“a strong argument that both full-time and part-time Tournament Directors may be classified as

administratively exempt.” (Littler Memo at 5).3 Defendant also consulted with legal counsel in

2016 when it decided to reclassify its full-time Tournament Directors as non-exempt after new

Department of Labor regulations were released. (Def. SMF ¶ 78-79; Hartman Dep. at 26).

        Nevertheless, plaintiffs oppose the motion on three grounds: first, because defendant did

not reconsider its classification policy after a DOL investigator informed defendant that

Tournament Directors were misclassified; second, because defendant classified part-time

Tournament Directors as non-exempt and paid them overtime wages; and third, because

defendant classified its full-time Tournament Directors as non-exempt in 2017.

        None of these arguments are dispositive. Plaintiffs first point to the fact that a single




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          Even though the same evidence may be relevant to willfulness and good faith, the burdens of proof differ:
the burden is on the employee to prove willfulness, but the burden is on the employer to prove good faith. Compare
Cruz v. Boston Litig. Solutions, 2016 WL 3568254, at *10 (D. Mass. May 24, 2016) (“The employee bears the
burden of showing that the defendant’s conduct was willful.”), with Chao, 493 F.3d at 36 (“[I]t is the employer’s
burden to show good faith and objective reasonableness . . . .” (emphasis omitted)).
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          According to the Littler memorandum, in 2007, defendant requested from the Department of Labor “an
advisory opinion on whether Tournament Directors [were] properly classified as exempt under the FLSA.” (Littler
Memo at 4 n.3). The Department, however, apparently never provided the requested opinion. (See id.).


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Department of Labor investigator reached the opposite conclusion after he investigated whether

Tournament Directors, and specifically Marcus, were properly classified as exempt. (See Pl.

SMF Ex. 5). He concluded that they were not and informed defendant’s counsel of that

conclusion. (See id. at 3, 7). In response, counsel told the investigator that defendant “disagreed

that overtime was due to” Marcus and “[was] not agreeing to pay any back wages.” (Id. at 7).

       Again, by all accounts, defendant followed what appeared to be reasonable and well-

supported advice made by informed counsel. The DOL investigator’s analysis of the exemption

status of Tournament Directors is limited. In the span of four sentences—and without

considering any case law—it recites the basic duties of Tournament Directors and concludes that

neither the executive exemption nor the administrative exemption applies. (See Pl. SMF Ex. 5,

at 3). The Littler memorandum, by contrast, presents a detailed analysis of the exemption status

of Tournament Directors, including considering relevant judicial decisions. (See Littler Memo at

5-7). Defendant could have reasonably concluded that its counsel’s thorough analysis more

accurately assessed whether Tournament Directors were properly exempt. Thus,

notwithstanding that fact, defendant can satisfy its burden of showing that it acted in good faith

and had reasonable grounds for believing that it was complying with the FLSA.

       Defendant’s classification decisions regarding part-time Tournament Directors and full-

time Tournament Directors in 2017 also do not make defendant’s conduct unreasonable.

Defendant not only sought out advice from legal counsel after the Department of Labor’s

investigation but also made changes to its compensation structure based on that advice

specifically to comply with FLSA regulations. Those undisputed facts, even viewed in a light

most favorable to plaintiffs, show that defendant took reasonable steps to investigate FLSA

requirements, which is “the crux of the good faith inquiry.” Scalia v. World Marble & Granite



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Corp., 2021 WL 2481255, at *10 (D. Mass. June 17, 2021).

       Ultimately, there is insufficient evidence from which a reasonable factfinder could find in

plaintiffs’ favor on the issue of liquidated damages. This is not a case with falsified or missing

records, cash payments to avoid a paper trail, or anything similar. There is also no evidence of

high-level officers making statements indicating an awareness of their obligations and an

unwillingness to follow the law. And defendant consulted and reasonably relied upon the advice

of informed counsel. For all of those reasons, defendant has met its burden of showing good

faith and objective reasonableness, and the Court will exercise discretion conferred under 29

U.S.C. § 260. Accordingly, the Court will grant defendant’s motion to the extent it seeks a

finding that pursuant to 29 U.S.C. § 260, there is no basis for an award of liquidated damages.

IV.    Conclusion

       For the foregoing reasons, defendant’s motion for summary judgment as to liquidated

damages is GRANTED to the extent it seeks a finding that there is no basis for an award of

liquidated damages and otherwise is DENIED.

So Ordered.


                                                  /s/ F. Dennis Saylor IV
                                                  F. Dennis Saylor IV
Dated: January 28, 2022                           Chief Judge, United States District Court




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